              Case
    AO 106 (Rev. 04/10) 8:19-mj-00848-DUTY                  Document
                        Application for a Search Warrant (USAO           1 Filed
                                                               CDCA Rev. 01/2013)   11/05/19 Page 1 of 27 Page ID #:1


                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Central District
                                                          __________  Districtofof
                                                                                 California
                                                                                   __________

                 In the Matter of the Search of                           )
             (Briefly describe the property to be searched                )
              or identify the person by name and address)                 )           Case No. 8:19-MJ-00848
              The SUBJECT DEVICES known as:                               )
             See items listed in Attachment A and B                       )
                                                                          )

                                               APPLICATION FOR A SEARCH WARRANT
            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
    penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
    property to be searched and give its location):
        See Attachment A

    located in the             Central                District of             California              , there is now concealed (identify the
    person or describe the property to be seized):

        See Attachment B

              The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                   ✔ evidence of a crime;
                   ’
                   ✔ contraband, fruits of crime, or other items illegally possessed;
                   ’
                     ✔ property designed for use, intended for use, or used in committing a crime;
                     ’
                     ’ a person to be arrested or a person who is unlawfully restrained.
              The search is related to a violation of:
                Code Section                                                          Offense Description
                21 U.S.C. §§ 841(a)(1) and                                                 See attached Affidavit
                21 U.S.C. § 846

              The application is based on these facts:
            See attached Affidavit

              ✔ Continued on the attached sheet.
              ’
              ’ Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                     Applicant’s signature

                                                                                           Farshid Hashempour, Task Force Officer
                                                                                                     Printed name and title

    Sworn to before me and signed in my presence.

    Date:
                                                                                                       Judge’s signature

    City and state: Santa Ana, California                                              Autumn D. Spaeth, U.S. Magistrate Judge
                                                                                                     Printed name and title
AUSA: G. Scally
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                               AFFIDAVIT
I, Farshid Hashempour, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION
     1.     I am a Detective with the Santa Ana Police Department

(“SAPD”) and also a federally deputized Task Force Officer

(“TFO”) presently working with the Federal Bureau of

Investigation (“FBI”).     As a TFO with the FBI, I am an

investigative or law enforcement officer of the United States

within the meaning of 18 U.S.C. § 2510(7), and I am empowered by

law to conduct investigations and make arrests for offenses

enumerated in 18 U.S.C. § 2516.

     2.     I am assigned to the Orange County Violent Gang Task

Force (“OCVGTF”).    The OCVGTF is composed of federal and local

law enforcement agencies, including, but not limited to, the

FBI, the Internal Revenue Service-Criminal Investigations, the

Bureau of Alcohol, Tobacco, Firearms, and Explosives, the SAPD,

and detectives from the Anaheim Police Department.         The OCVGTF

is responsible for, among other things, investigating violations

of federal law committed by criminal street gangs, the Mexican

Mafia, and other violent criminal organizations in Orange

County.    Prior to this assignment with the FBI, I was a SAPD

Police Officer and have been so employed for approximately

eighteen years.

     3.     I have specialized training and experience in

investigations of narcotics trafficking and criminal street

gangs.    During my tenure as a Police Officer, as well as an FBI
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TFO, I have conducted and participated in numerous

investigations of criminal activity, specifically including

narcotics trafficking and violent offenses committed by street

gangs.     Since joining the OCVGTF in 2010, I have specialized in

investigations of the Mexican Mafia and its subordinate gangs in

Orange County.     As part of these investigations, I have also

learned about the drug trafficking organizations that supply

street gangs with illegal narcotics.

                       II. PURPOSE OF AFFIDAVIT
      4.     This affidavit is made in support of an application

for a warrant to search the following digital devices in the

custody of the Federal Bureau of Investigation (“FBI”), in Santa

Ana, California (collectively, the “SUBJECT DEVICES”), as

described in Attachment A, for the items to be seized described

in Attachment B, which are the evidence, fruits, and

instrumentalities of violations of 21 U.S.C. §§ 841(a)(1) and 21

U.S.C. § 846 (Possession With Intent to Distribute Controlled

Substances, Distribution of Controlled Substances, and

Conspiracy to Possess with Intent to Distribute and to

Distribute Controlled Substances) (the “Subject Offenses”):

             a.   Black Wiko cellular phone (“SUBJECT DEVICE 1”);

             b.   Black Motorola with purple case, Model XT1921-3,

IMEI number 351841094368489 (“SUBJECT DEVICE 2”)

             c.   Black Samsung, Model SM-J327T1, Serial number

327T1UVS2ARE1, IMEI number 359214/09149817/4 (“SUBJECT DEVICE

3”)




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           d.    Black LG cellular telephone, Model LMX410MK, IMEI

number 355380-09-193358-7 (“SUBJECT DEVICE 4”)

     5.    Attachments A and B are incorporated herein by

reference.

     6.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE
     7.    On or about September 5, 2019, the SAPD received a

call for service regarding an individual with a gun at a Carl’s

Jr. restaurant in Santa Ana, California.        The caller said that a

white female in a white Trailblazer was armed with a handgun.

The caller also said that the female had pulled out the gun and

waved it around.    SAPD Officers arrived at the scene and were

greeted by a person who appeared to be distraught and in a

panic.    The person told Officers he was robbed by a white female

in a white Chevy Tahoe or Suburban with a license plate starting

with the number “7.”

     8.    Officers then went around the Carl’s Jr. and found a

white SUV that was occupied by a white female who matched the

description provided by the person they had just contacted.



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Officers contacted the Female, later identified as HEATHER ANN

BRADLEY (“BRADLEY”), who was seated in the driver’s seat of the

vehicle, which was registered to BRADLEY.        BRADLEY was removed

from the car and detained while Officers searched the vehicle to

find the firearm reported.     An SAPD Officer searching the rear

compartment of the white SUV located three trash bags containing

twenty-three rectangular packages containing suspected

controlled substances weighing approximately 58 pounds.          The

SUBJECT DEVICES related to this case were also found in the

vehicle.

     9.    The suspected controlled substances were sent to the

lab and confirmed to be 19.11 kilograms of cocaine and 4007

grams of fentanyl.

                   IV. STATEMENT OF PROBABLE CAUSE
     10.   Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.    Report of Firearm and Robbery
     11.   On or about September 5, 2019, at approximately 10:29

p.m., SAPD Officers M. Casillas and P. Marshall were working

uniformed patrol in the same marked police unit when they were

dispatched to the parking lot of the Carl’s Jr. restaurant,

located at 1809 East Edinger Avenue, Santa Ana, California.            The

calling party had called SAPD Dispatch to advise that he had

seen a white female in a white colored Chevrolet Trailblazer

brandishing a firearm.     The caller stated, “I saw her pull out

the gun and everything and then she received a luggage.”



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       12.   When SAPD Officers Casillas and Marshall arrived at

the Carl’s Jr., they contacted a male later identified as Adrian

Vasquez.     Vasquez appeared to be distraught, panicked, sweating

profusely, and speaking rapidly.      Vasquez stated he had low

blood sugar.     Vasquez told the officers he had been robbed by a

white female armed with a handgun.         Vasquez said the female was

in a white Tahoe or Suburban with a license plate starting with

“7.”

       13.   I later listened to the 911 calls made by the calling

party who had initially reported the incident to SAPD.          The

caller was a male but did not identify himself.         The caller

informed the dispatcher that he had observed a White Female in a

white Chevy Trailblazer in the parking lot of the Carl’s Jr.

The same male subject called back to inform dispatch that he had

observed the SAPD Officers arrive at the scene, but they had yet

to contact the Chevy Trailblazer, which was still parked in the

Carl’s Jr. parking lot.     I also watched the Officers’ Body Worn

Camera (“BWC”) videos documenting the entire incident, and more

specifically their interactions with Vasquez and BRADLEY.          Based

on voice comparison of the BWC video and the 911 audio, I made

the determination that the individual calling 911 was not Adrian

Vasquez.

       14.   After speaking to Vasquez, Officer Marshall and

Officer Casillas drove through the parking lot of the Carl’s Jr.

and observed a white Chevy Trailblazer, bearing California

license 7TDL743, parked on the east side of the Carl’s Jr.,

which matched the description provided by the calling party and



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Vasquez.    The vehicle was located in the general area described

by Vasquez as the location where the robbery occurred.          The

Officers observed that the vehicle was occupied by a white

female, later identified as BRADLEY.       A records check of the

vehicle’s license plate revealed that it was registered to

BRADLEY out of Chula Vista, California.

      B.    Recovery of Cocaine, Fentanyl, and SUBJECT DEVICES
            from BRADLEY’s Vehicle
      15.   Upon finding a vehicle that matched the description

provided by both the 911 caller and Vasquez, Officer Casillas

and Officer Marshall cautiously approached the Chevy Trailblazer

and contacted BRADLEY, who was the sole occupant of the vehicle,

seated in the driver’s seat.      BRADLEY told Officer Marshall that

she was waiting for a friend, who was on his way to the Carl’s

Jr.   Due to the nature of the call and statements made by

Vasquez, Officer Marshall removed BRADLEY from the vehicle and

handcuffed her for purposes of officer safety.         Officer Casillas

conducted a search of BRADLEY’s person, but did not find

anything.    BRADLEY confirmed that the vehicle belonged to her,

but did not give Officer Casillas consent to search the vehicle.

Officer Casillas then informed BRADLEY that they were

investigating reports of a robbery involving a suspect who

matched BRADLEY’s description.      Officer Casillas advised BRADLEY

that she was being detained and was not under arrest before

seating BRADLEY to the rear of her marked police unit.

      16.   Officer Casillas and Officer Marshall searched

BRADLEY’s vehicle in search of the firearm and stolen items




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described previously to the officers by Vasquez.         The search of

the rear storage compartment of BRADLEY’s white Chevy

Trailblazer revealed three trash bags containing twenty-three

rectangular packages that appeared to be tightly wrapped in

plastic and vacuum sealed.     The rear storage compartment on the

Chevy Trailblazer is located on the other side of the rear

passenger seats and is accessible from the inside of the vehicle

without having to open the rear lift gate.        Four of the bundles

were wrapped in packaging that consisted of a blue line in the

center with the letters "GHC" written on the line.         The

remaining nineteen packages were also tightly wrapped with

"OXXO" tape or labeling, which is the name of a chain of

convenience stores.    Based on their training and experience,

Officer Marshall and Officer Casillas formed the opinion that

items found in the trash bags were a controlled substance.           The

officers continued their search of the Chevy Trailblazer and did

not find any of the items supporting Vasquez’s claim of a

robbery to include the firearm, the wallet containing $250 or

the Black iPhone 8——these latter items being the items Vasquez

said were stolen from him, as described below in ¶ 19.

     17.   During his initial contact with BRADLEY, Officer

Marshall observed SUBJECT DEVICE 1 resting on top of BRADLEY’s

legs while she was seated in the driver’s seat of the white

Chevy Trailblazer.    I later reviewed Officer Marshall’s body-

worn camera video and could see SUBJECT DEVICE 1 on BRADLEY’s

lap as she sat in the driver’s seat.       During an interview of

BRADLEY at the Santa Ana Jail, BRADLEY admitted that SUBJECT



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DEVICE 1 belonged to her.     While searching BRADLEY’s vehicle,

Officer Marshall found SUBJECT DEVICE 2 on top of the center

console.   On Officer Marshall’s body-worn camera video, I

observed him pick up SUBJECT DEVICE 2 from the general vicinity

of the center console, but I could not see clearly the exact

location of SUBJECT DEVICE 2 because of the camera angle.           As

written in his report, Officer Marshall located SUBJECT DEVICE 3

in between the center console and the front passenger seat of

the Chevy Trailblazer.     On Officer Marshall’s body-worn camera

video, I could clearly see Officer Marshall remove SUBJECT

DEVICE 3 from in between the front passenger seat and the center

console.   SUBJECT DEVICE 4 was found by Officer Marshall inside

a black bag on the front passenger floor board, which was

substantiated by Officer Marshall’s body-worn camera, which

showed him looking through what appeared to be a large black

woman’s purse.   On the video, SUBJECT DEVICE 4 could be seen

inside one of the pockets of the purse.

     C.    Statements by Vasquez to Officer Nolan While the
           Search Occurred
     18.   SAPD Officer Nolan also assisted on the call with

other officers who were dispatched to the Carl’s Jr. restaurant.

After Officers Casillas and Marshall went to contact BRADLEY,

Officer Nolan continued the interview of Vasquez.         Vasquez

stated he was originally from Chula Vista, California, and had

come to Santa Ana to visit his grandmother; Vasquez was unable

to provide his grandmother’s address.       Vasquez said that at

about 8:20 p.m. he ordered an Uber to pick him up and transport




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him to the Carl’s Jr.     Vasquez stated he was talking to his

father on his cell phone and walking in the Carl’s Jr. parking

lot when he noticed a vehicle (later identified as the

Trailblazer) that was occupied by a white female.          Vasquez

described the interior of the vehicle was illuminated by the

vehicle’s dome light, which allowed him to see the woman seated

in the driver’s seat holding a firearm.        Vasquez said he told

his father what he had witnessed and provided his father with

the license plate associated with the vehicle.

      19.   According to Vasquez, the white female then exited the

vehicle and asked Vasquez with whom he was speaking.           Vasquez

said he denied speaking to anyone on his phone and disconnected

the phone call with his father.       Vasquez said the white female

then demanded his cell phone.       Vasquez said that although he did

not notice if the female was still holding the firearm as she

exited the vehicle, Vasquez handed the female his black iPhone 8

out of fear for his life since he had just seen her in

possession of the handgun.      Vasquez said the female then asked

Vasquez for other possessions while she grabbed at pockets of

Vasquez’s shorts.     Vasquez said the female asked Vasquez for his

wallet, which he removed from his right front pocket and handed

to the female.    Vasquez later informed the Officers that his

wallet contained $250 in United States Currency along with

personal identification documents such as his California Driver

License and Social Security card.       Vasquez said the female then

told Vasquez, “Get out of my face,” at which time Vasquez walked

away and into the Carl’s Jr. restaurant, where he told the



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restaurant employees that he had just been robbed.          Vasquez

described the white female as being in her late twenties or

early thirties, with long blonde hair, green eyes and wearing a

white shirt.    Vasquez could not remember the license plate

number to the vehicle he had seen the suspect inside of, but did

remember that it started with the number seven.

      20.   While speaking with Vasquez, Officer Nolan was advised

by Officer Marshall and Officer Casillas that they had located a

vehicle and suspect, both of which matched the description

provided by Vasquez.     At approximately 11:48 p.m., Officer Nolan

used his SAPD issued Police Officer Index to read Vasquez an

admonishment for a field line-up.       Vasquez verbally acknowledged

the admonishment and agreed to participate in the field show-up.

During a field show-up, Vasquez positively identified BRADLEY as

the suspect in the robbery and the white Chevy Trailblazer as

the vehicle in which Vasquez had seen BRADLEY brandishing a

firearm.

      21.   Later the same evening, at about 11:58 p.m., Officer

Nolan called Vasquez’s father and spoke to him regarding the

events of that evening.      Despite a language barrier, Officer

Nolan understood that Vasquez’s father did speak to his son,

Adrian, earlier in the evening.       Vasquez’s father believed that

his son was with his girlfriend, Beatrice, but did not mention

anything to substantiate Vasquez’s claim that he told his father

about the vehicle and the woman with a gun before hanging up the

phone.




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      D.      Arrest of BRADLEY and Vasquez
      22.     BRADLEY and Vasquez were arrested and transported to

the Santa Ana Jail.      Vasquez was initially arrested on the

belief that he and BRADLEY were working in concert since both

individuals reside in Chula Vista, California, and due to the

fact that officers did not find any evidence supporting

Vasquez’s claim that BRADLEY robbed him.

      E.      BRADLEY’s Statements
      23.     At the Santa Ana Jail, Officer Marshall used his SAPD

issued Police Officer Index to read BRADLEY her Miranda Rights.

BRADLEY answered, “Yes,” when asked if he understood each of her

rights.      During the interview, BRADLEY confirmed that the white

Chevy Trailblazer was registered in her name.         When Officer

Marshall asked if everything found in the vehicle belonged to

her, BRADLEY responded, “Um, well I thought everything in the

car was mine, but whatever you pulled out is definitely not

mine.”      Officer Marshall asked BRADLEY if there were any

cellular phones in the vehicle.        BRADLEY identified SUBJECT

DEVICE 1 as belonging to her.        Officer Marshall then asked

BRADLEY the reason why she was in Santa Ana that evening.

BRADLEY stated that she was there to “pick up somebody.”           When

Officer Marshall asked BRADLEY to identify the person she was

supposed to pick up, BRADLEY asked Officer Marshall for an

attorney, thus concluding their interview.

      F.      VASQUEZ’s Statements
      24.     In an interview room at Santa Ana Jail, Officer

Marshall read Vasquez his Miranda Rights from his SAPD issued



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Police Officer Index.     Vasquez answered, “Yes,” when asked if he

understood each of his rights.       During the interview, Vasquez

reiterated the story he gave the Officers in the parking lot of

the Carl’s Jr. restaurant.      Vasquez said that he was at his

grandmother’s house in Santa Ana, when he ordered an Uber to

take him to the Carl’s Jr. to get something to eat.          While

walking through the parking lot towards the restaurant, Vasquez

said he observed BRADLEY in the vehicle with a firearm.           Vasquez

stated that BRADLEY then exited her vehicle and confronted him

by asking, “Who you talking to?”       Possibly believing that

Vasquez was on the phone with the police, Vasquez claimed that

BRADLEY called him a “snitch.”       According to Vasquez, BRADLEY

then took his iPhone and wallet containing $250 in cash.

Vasquez denied knowing BRADLEY and said that he was never in her

vehicle.

      G.    Drug Test
      25.   The controlled substances recovered from BRADLEY’s car

were sent to the Drug Enforcement Administration (“DEA”) lab for

testing.    I have reviewed the DEA lab report for those

substances, which identifies them as 19.11 kilograms of cocaine

and 4007 grams of fentanyl.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES
      26.   Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

            a.   Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-



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level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where the drug trafficker has ready access to them, such as on

their cell phones and other digital devices.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices.      Drug traffickers often keep records of



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meetings with associates, customers, and suppliers on their

digital devices, including in the form of calendar entries and

location data.

            e.   Individuals engaged in the illegal purchase or

sale of controlled substances often use multiple digital

devices.

            VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
      27.   As used herein, the term “digital device” includes the

SUBJECT DEVICES.

      28.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been



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used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      29.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data




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during a search of the premises for a number of reasons,

including the following:

            a.   Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      30.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition



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function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

            b.     In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

            c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.      Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress BRADLEY’s thumb- and/or fingers on the

device(s); and (2) hold the device(s) in front of BRADLEY’s face

with his or her eyes open to activate the facial-, iris-, and/or

retina-recognition feature.

      31.    Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                             VII. CONCLUSION
      32.   For all the reasons described above, there is probable

cause to believe that the items listed in Attachment B, which

constitute evidence, fruits, and instrumentalities of violations




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of the Subject Offenses will be found on the SUBJECT DEVICES, as

described in Attachment A.




                                         FARSHID HASHEMPOUR, Task Force
                                         Officer
                                         Federal Bureau of
                                         Investigation

Subscribed to and sworn before me
This 5th day of November, 2019.



UNITED STATES MAGISTRATE JUDGE




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                               ATTACHMENT A
PROPERTY TO BE SEARCHED

      The following digital devices (the “SUBJECT DEVICES”), were

seized on September 5, 2019, and are currently maintained in the

custody of the FBI in Santa Ana, CA:

      1.   Black Wiko cellular phone (“SUBJECT DEVICE 1”);

      2.   Black Motorola with purple case, Model XT1921-3, IMEI

number 351841094368489 (“SUBJECT DEVICE 2”)

      3.   Black Samsung, Model SM-J327T1, Serial number

327T1UVS2ARE1, IMEI number 359214/09149817/4 (“SUBJECT DEVICE

3”)

      4.   Black LG cellular telephone, Model LMX410MK, IMEI

number 355380-09-193358-7 (“SUBJECT DEVICE 4”)




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                               ATTACHMENT B
ITEMS TO BE SEIZED

      1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

§§ 841(a)(1) and 21 U.S.C. § 846 (Possession With Intent to

Distribute Controlled Substances, Distribution of Controlled

Substances, and Conspiracy to Possess with Intent to Distribute

and to Distribute Controlled Substances) (the “Subject

Offenses”), namely:

           a.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

           b.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

           c.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the Subject Offenses;



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           d.    Records, documents, programs, applications,

materials, or conversations relating to the trafficking of

drugs, including ledgers, pay/owe records, distribution or

customer lists, correspondence, receipts, records, and documents

noting price, quantities, and/or times when drugs, guns, or

ammunition were bought, sold, or otherwise distributed;

           e.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of drugs, guns, or ammunition;

           f.    Contents of any calendar or date book;

           g.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

           h.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

           i.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.   evidence of the presence or absence of

software that would allow others to control the device, such as



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viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, and other access

devices that may be necessary to access the device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

      2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.




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I.    SEARCH PROCEDURE FOR THE SUBJECT DEVICE(S)
      3.   In searching the SUBJECT DEVICE(S) (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) may

search any SUBJECT DEVICE capable of being used to facilitate

the above-listed violations or containing data falling within

the scope of the items to be seized.

           b.    The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

           c.    The search team shall complete the search of the

SUBJECT DEVICE(S) as soon as is practicable but not to exceed

120 days from the date of issuance of the warrant.          The

government will not search the digital device(s) beyond this

120-day period without obtaining an extension of time order from

the Court.

           d.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine

whether the SUBJECT DEVICE and any data thereon falls within the

scope of the items to be seized.       The search team may also



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search for and attempt to recover deleted, “hidden,” or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

           e.    If the search team, while searching a SUBJECT

DEVICE, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that

SUBJECT DEVICE pending further order of the Court and shall make

and retain notes detailing how the contraband or other evidence

of a crime was encountered, including how it was immediately

apparent contraband or evidence of a crime.

           f.    If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

           g.    If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,




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the government may make and retain copies of such data, and may

access such data at any time.

           h.    If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the

government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.

           i.    The government may also retain a SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           j.    After the completion of the search of the SUBJECT

DEVICE(S), the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

      4.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the



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custody and control of attorneys for the government and their

support staff for their independent review.

      5.   During the execution of this search warrant, law

enforcement is permitted to (1) depress HEATHER ANN BRADLEY’s

thumb- and/or fingers onto the fingerprint sensor of the SUBJECT

DEVICES (only if the device has such a sensor), and direct which

specific finger(s) and/or thumb(s) shall be depressed; and (2)

hold the device in front of HEATHER ANN BRADLEY’s face with his

or her eyes open to activate the facial-, iris-, or retina-

recognition feature, in order to gain access to the contents of

any such device.     In depressing a person’s thumb or finger onto

a device and in holding a device in front of a person’s face,

law enforcement may not use excessive force, as defined in

Graham v. Connor, 490 U.S. 386 (1989); specifically, law

enforcement may use no more than objectively reasonable force in

light of the facts and circumstances confronting them.

      6.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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